      Case 2:18-cv-00272 Document 141 Filed on 12/03/21 in TXSD Page 1 of 1
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                        December 03, 2021
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk

                       CORPUS CHRISTI DIVISION

FRED G. MARTINEZ,                         §
                                          §
         Petitioner,                      §
VS.                                       §   CIVIL NO. 2:18-CV-272
                                          §
LORIE DAVIS,                              §
                                          §
         Respondent.                      §

                                     ORDER

       The Court is in receipt of Plaintiff Fred Martinez’s (“Martinez”) Motion to
Exercise Inherent Power/Motion to Vacate Void Judgment, Dkt. No. 119; Plaintiff’s
Motion to Review De Novo, Dkt. No. 120; the Magistrate Judge’s Memorandum and
Recommendation (“M&R”) construing both motions as Rule 60(b) motions for relief
from judgment, Dkt. No. 121; and Plaintiff’s Objections to the M&R, Dkt. No. 127.
       After independently reviewing the record and the applicable law, the Court
ADOPTS the M&R, Dkt. No. 121. The Court DENIES Plaintiff’s Rule 60(b)
motions for relief from judgment, Dkt. Nos. 119, 120.


       SIGNED this 3rd day of December 2021.


                                          ___________________________________
                                          Hilda Tagle
                                          Senior United States District Judge




1/1
